 

Case 6:17-cr-00047-C-BL Document17 Filed 11/02/17 Page 1of2 PagelD 30

 

IN THE UNITED STATES DISTRICT COURT MATE ED
FOR THE NORTHERN DISTRICT OF TEXA§ HOV-2 AM 9b]

SAN ANGELO DIVISION
DEPUTY CLERM YW,

UNITED STATES OF AMERICA }
}
v. ¥ NO. 6:17-CR-047-C
}
JOHN GILBREATH IV }
FACTUAL RESUME

 

In support of John Gilbreath IV’s plea of guilty to the offense in Count One of the
Indictment, Gilbreath, the defendant, Mark Danielson, the defendant’s attorney, and the United
States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the Indictment, charging a violation of 18
U.S.C. §§ 922(g)(1) and 924(a)(2), that is, Convicted Felon in Possession of a Firearm, the
government must prove each of the following elements beyond a reasonable doubt (Fifth Circuit
Pattern Jury Instruction 2.43D (Sth Cir. 2015):

First. That the defendant knowingly possessed a firearm as charged in the
Indictment;

Second. That before the defendant possessed the firearm, the defendant had been
convicted in a court of a crime punishable by imprisonment for a term in
excess of one year; and

 

Third. That the firearm possessed traveled in interstate commerce; that is, before the
defendant possessed the firearm, it had traveled at some time from one state to
another.

STIPULATED FACTS
1. John Gilbreath IV, defendant, admits and agrees that on or about June 11, 2017, in

the San Angelo Division of the Northern District of Texas, or elsewhere, he, a person who had
previously been convicted of a crime punishable by a term of imprisonment exceeding one year,
did knowingly possess in or affecting interstate or foreign commerce a firearm, to wit: a Charter
Arms, Charco model, .38 caliber revolver bearing serial number 1124875.

Factual Resume, page 1
 

Case 6:17-cr-00047-C-BL Document17 Filed 11/02/17 Page 2of2 PagelD 31

2. On June 11, 2017, deputies with the Tom Green County Sheriffs Office
conducted a lawful search of Gilbreath’s vehicle and found a Charter Arms, Charco model, .38
caliber revolver bearing serial number 1124875 in Gilbreath’s trunk. Gilbreath admits that he
knowingly possessed this firearm.

3. Before Gilbreath possessed the firearm listed above, he had been convicted in a
court of a crime punishable by imprisonment for a term in excess of one year, that is, a felony
offense. Specifically, on or about November 9, 1994, in the 51st District Court of San Angelo,
Texas, Gilbreath was convicted of Possession with Intent to Distribute Marijuana, a 3rd degree
felony, and sentenced to a fully probated sentence of ten years imprisonment.

4. The firearm listed above meets the definition of a “firearm” under federal law.
Further the firearm mentioned in this factual resume was not manufactured in the State of Texas
and, therefore, affected interstate or foreign commerce. That is, before Gilbreath possessed this
firearm, it had traveled at some time from one state to another or between any part of the United
States and any other country.

5. The defendant agrees that the defendant committed all the essential elements of
the offense. This factual resume is not intended to be a complete accounting of all the facts and
events related to the offense charged in this case. The limited purpose of this statement of facts is
to demonstrate that a factual basis exists to support the defendant’s guilty plea to Count One of
the Indictment.

AGREED TO AND STIPULATED on this 2"4 day of November, 2017.

JOHN R. PARKER

 

 

UNITED STATES ATTORNEY
ES IV volar bn HATFIELD
Defendant \y Aa istant United States Attorney

New Mexico State Bar No. 146699
1205 Texas Avenue, Suite 700
Lubbock, Texas 79401

Telephone: 806-472-7323

Facsimile: 806-472-7394

E-mail: anderson.hatfield@usdoj.gov

 

/ MARK R. DANIELS@N
Attorney for Defendant

Factual Resume, page 2
